                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )          No. 3:13-00209
                                                 )          JUDGE CAMPBELL
JUAN COLLAZO                                     )

                                             ORDER

         Pending before the Court is the Defendant’s Motion To Compel Service Of Process

(Docket No. 58). Through the Motion, the Defendant requests that the Court order the Marshal

Service to serve any and all subpoenas he issues.

         The Motion is DENIED, without prejudice to refiling with respect to particular

subpoenas addressed to specific individuals or entities.

         It is so ORDERED.



                                                     _________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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